                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )       No.:   3:11-CR-129-1
                                                   )              (VARLAN/SHIRLEY)
 CHARLES CHAD BOZEMAN III,                         )
                                                   )
               Defendant.                          )


                       MEMORANDUM OPINION AND ORDER

        This criminal action is before the Court on defendant Charles Bozeman III’s Appeal

 of Memorandum and Order of the magistrate judge [Doc. 152]. The government filed a

 response in opposition [Doc. 152]. No reply was filed, and the time for doing so has passed.

 See E.D. Tenn. L.R. 7.1(a), 7.2. For the reasons explained herein, the Court will affirm the

 rulings of the magistrate judge.

 I.     Background

        The defendant is charged, along with twelve named codefendants and “others,” with

 conspiring to distribute and to possess with intent to distribute oxycodone in the Eastern

 District of Tennessee and “elsewhere” from November 2010 through June 2011 [Doc. 54].

 The defendant filed a motion for a pretrial ruling on lesser-included offenses [Doc. 89] as

 well as a motion to sever his case from his twelve codefendants’ cases [Doc. 90]. The

 matters were referred to Magistrate Judge Shirley for disposition or report and

 recommendation, as appropriate. Magistrate Judge Shirley denied in part and deferred in part



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 the defendant’s motion for a pretrial ruling on lesser-included offenses and denied the

 defendant’s motion to sever.

 II.    Standard of Review for Appeal

        Section 636(b)(1)(A) of Title 28 of the United States Code allows district judges,

 subject to certain exceptions, to “designate a magistrate judge to hear and determine any

 pretrial matter pending before the court.” 28 U.S.C. § 636(b)(1)(A). A district judge may

 reconsider any pretrial matter determined under “ subparagraph (A) where it has been shown

 that the magistrate judge’s order is clearly erroneous or contrary to law.”

 III.   Analysis

        Regarding the motion for a pretrial ruling on lesser-included offenses, the defendant

 argued that four offenses should be charged as lesser-included offenses of conspiracy to

 distribute or possess with intent to distribute oxycodone: (1) intentionally acquiring “a

 controlled substance by misrepresentation, fraud, forgery, deception, or subterfuge,” 21

 U.S.C. § 843(a)(3); (2) simple possession of a controlled substance, 21 U.S.C. § 844; (3)

 conspiracy to acquire a controlled substance by fraud; and (4) conspiracy to possess a

 controlled substance. He asserted that knowing whether these offenses may be charged as

 lesser-included offenses would be important to his decision of whether to proceed to trial or

 to enter into a plea agreement.

        Magistrate Judge Shirley identified that “[a] criminal defendant is entitled to an

 instruction on a lesser-included-offense if: (1) a proper request is made; (2) the elements of

 the lesser offense are identical to part of the elements of the greater offense; (3) the evidence

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 would support a conviction on the lesser offense; and (4) the proof on the element or

 elements differentiating the two crimes is sufficiently disputed so that a jury could

 consistently acquit on the greater offense and convict on the lesser” [Doc. 146 (quoting

 United States v. Colon, 268 F.3d 367, 373 (6th Cir. 2001)]. “Where, however, the lesser

 offense requires an element not required for the greater offense, no instruction is to be given”

 [Id. (citation omitted)]. Applying this test, he determined that three of the four proposed

 lesser-included offenses—acquiring a controlled substance by fraud, conspiracy to acquire

 a controlled substance by fraud, and simple possession—are not lesser-included offenses of

 conspiracy to distribute or possess with intent to distribute a controlled substance [Id.].

        To establish a drug conspiracy, the magistrate judge noted that “the government must

 prove (1) an agreement to violate drug laws, (2) knowledge and intent to join the conspiracy,

 and (3) participation in the conspiracy” [Id. (citation omitted)]. To prove simple possession,

 he found, the government must demonstrate that the defendant knowingly or intentionally

 possessed a controlled substance [Id. (citation omitted)]. Magistrate Judge Shirley noted that

 the Sixth Circuit has found simple possession of a controlled substance requires an element

 not necessary for conspiracy, that is, “possession,” and thus simple possession of a controlled

 substance is not a lesser-included offense of conspiracy to distribute and possess with intent

 to distribute a controlled substance [Id. (citation omitted)]. Likewise, because intentionally

 acquiring a controlled substance by misrepresentation, fraud, forgery, deception, or

 subterfuge in violation of 21 U.S.C. § 843(a)(3) requires possession, he found it too is not

 a lesser-included offense of conspiracy to distribute or possess with intent to distribute a

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 controlled substance [Id.]. And because conspiracy to acquire a controlled substance by

 fraud requires the additional element of misrepresentation, fraud, forgery, deception, or

 subterfuge, the magistrate judge found it also is not an lesser-included offense of conspiracy

 to distribute or possess with intent to distribute a controlled substance [Id.].

        The magistrate judge, however, found the question of whether conspiracy to possess

 a controlled substance is a lesser-included offense of conspiracy to distribute or possess with

 intent to distribute a controlled substance premature and should be determined by the

 undersigned at trial [Id.]. He based this finding on the fact that the parties had not stipulated

 to the facts, and while the defendant offered to provide one of the prescriptions in question

 so the Court could make a determination of whether a jury instruction on the lesser-included

 offense would be appropriate, he said “the full compliment of the proof [could not] be

 divined from the Court’s examination of a single, allegedly forged prescription” [Id.].

        The defendant appeals the magistrate judge’s finding that conspiracy to obtain

 prescriptions by fraud is not a lesser-included offense of the charged offense, conspiracy to

 distribute and possess with intent to distribute oxycodone, “for the reasons particularly set

 out in his Reply to the government’s response to this motion” [Doc. 152]. He also appeals

 the “finding that the remaining issues should be deferred” because “[t]he facts of the case are

 essentially undisputed in that the government’s case is based on obtaining prescriptions by

 fraud” [Id.]. He says the only disputed element is “whether there was intent to distribute on

 [the defendant’s] part” [Id.]. The government contends the defendant’s appeal “adds nothing



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 new to the briefs previously filed in this matter” and that the magistrate judge’s memorandum

 and order “addresses and answers every point raised by the defendant” [Doc. 153].

        Before the magistrate judge, the defendant asserted that there was little in dispute

 about the facts of this case, which is about allegedly forged prescriptions for oxycodone. He

 offered the Court one of the prescriptions in question so that the Court could determine

 whether a jury instruction on the lesser-included offense would be appropriate. The

 government asserted that whether conspiracy to possess a controlled substance is a lesser-

 included offense of conspiracy to distribute or possess with intent to distribute a controlled

 substance could not be determined outside the context of the presentation of the evidence at

 trial and that the defendant not only forged prescriptions in order to obtain oxycodone, but

 engaged in the conspiracy in other ways as well. As noted, in deferring the issue, the

 magistrate judge found that the parties had “not stipulated to the facts and that the full

 compliment of the proof [could] not be divined from the Court’s examination of a single,

 allegedly forged prescription” [Doc. 146].

        On appeal, the defendant in no way attempts to demonstrate that the magistrate

 judge’s finding regarding whether conspiracy to acquire a controlled substance by fraud is

 a lesser-included offense of conspiracy to distribute or possess with intent to distribute a

 controlled substance is “clearly erroneous or contrary to law,” 28 U.S.C. § 636(b)(1)(A);

 indeed, defendant relies solely upon his reply brief in support. The magistrate judge,

 however, thoroughly addressed the defendant’s previous arguments.             Regarding the

 magistrate judge’s finding that whether conspiracy to possess a controlled substance is a

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 lesser-included offense of conspiracy to distribute or possess with intent to distribute a

 controlled substance should be determined by the undersigned at trial, the defendant,

 likewise, merely reasserts the positions he asserted before Magistrate Judge Shirley.

 Moreover, the defendant himself acknowledges that there is a disputed fact, that is, “whether

 there was intent to distribute” by the defendant, and he agreed before Magistrate Judge

 Shirley that “inquiry into whether an offense is a lesser included charge is bound to the facts

 of the case . . . .” [Doc. 146]. Thus, the Court finds it appropriate to affirm the rulings of

 Magistrate Judge Shirley pertaining to whether conspiracy to obtain a controlled substance

 by fraud and conspiracy to posses a controlled substance are lesser-included offenses of

 conspiracy to distribute or possess with intent to distribute a controlled substance.

        Regarding the defendant’s motion to sever, the defendant argued that a separate trial

 was necessary for four reasons: (1) because the statements of codefendants may cause Bruton

 problems; (2) because of the possibility of inconsistent defenses given the number of

 defendants in the case; (3) because the defendant may want to call a codefendant to testify

 at trial; and (4) because the defendant’s speedy trial rights may be violated by being joined

 to codefendants who are seeking extensions of deadlines and/or trial continuances. After

 finding the defendants in this case were properly joined pursuant to Rule 8 of the Federal

 Rules of Criminal Procedure, the magistrate judge determined none of the reasons warranted

 severance. The defendant appeals only the magistrate judge’s findings with respect to his

 assertion that his speedy trial rights may be violated by being joined with codefendants who

 are seeking extensions of deadlines and/or trial continuances [Doc. 152].

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        While recognizing that the Court had continued the trial of the case from December

 19, 2011, to July 17, 2012, at the request of the defendant’s codefendants and over the

 defendant’s objection, Magistrate Judge Shirley found the defendant’s argument did not

 warrant a severance because the case remained on track to proceed to trial on July 17, 2012

 [Doc. 146]. He also noted that, pursuant to the Speedy Trial Act, he previously found that

 the such continuance was necessary to permit defendants who had more recently entered the

 case to complete their review of discovery, file pretrial motions, and generally prepare for

 trial, and because it allowed the Court to hear and rule on pretrial motions, including those

 filed by the defendant [Id.]. Further, he noted the Court found the ends of justice served by

 granting the continuance outweighed the interests of the defendants and the public in a

 speedy trial [Id.].

        The defendant now reasserts on appeal that his argument that his codefendants were

 using the continuance for purposes of working out plea deals rather than for a proper purpose

 under the Speedy Trial Act “appears to have been well-founded, as that is what is occurring”

 [Doc. 152]. Again, the defendant in no way attempts to demonstrate that the magistrate

 judge’s findings on this issue were “clearly erroneous or contrary to law,” and he seemingly

 reasserts the position he asserted before Magistrate Judge Shirley, who thoroughly addressed

 such. 28 U.S.C. § 636(b)(1)(A). Accordingly, the Court will affirm the magistrate judge’s

 memorandum and order as it relates to this issue.




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 IV.    Conclusion

        For the reasons stated herein, and because Court has reviewed Magistrate Judge

 Shirley’s memorandum and order, the parties’ arguments and briefs, and the relevant law and

 determines that the magistrate judge fully and correctly considered the issues presented by

 the defendant’s appeal, the Court hereby AFFIRMS, to the extent stated herein, the

 Memorandum and Order of the magistrate judge [Doc. 146] and DISMISSES Charles

 Bozeman III’s Appeal of Memorandum and Order [Doc. 152].

        IT IS SO ORDERED.



                                           s/ Thomas A. Varlan
                                           UNITED STATES DISTRICT JUDGE




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